Case 1:22-cv-00272-PLM-RMK-JTN ECF No. 114-8, PageID.3985 Filed 12/04/23 Page 1 of
                                       6




                             EXHIBIT G
Case 1:22-cv-00272-PLM-RMK-JTN ECF No. 114-8, PageID.3986 Filed 12/04/23 Page 2 of
                                       6
Case 1:22-cv-00272-PLM-RMK-JTN ECF No. 114-8, PageID.3987 Filed 12/04/23 Page 3 of
                                       6

    worked on collaboratively for Congress, state Senate and state House.

    They are not dead set against voting for an individual commissioner's map, but that
    is not their preference.

    "Those were the ones where we worked together," said Commissioner
    Dustin WITJES. "For two months straight, we had the Commission and the experts
    working together. We know why we did certain things as opposed maybe an
    individual commissioner working on a map on their own."

    An individual map would need a lot of explanation and outside support before it
    could generate much interest, Witjes projected. It's legally possible an individual
    map could be proposed when the Commissioners meet for decision making Dec.
    28.

    Any new collaborative map would need to go through another 45-day public
    comment window. That's not something the Commissioners don't want to do.

    An individual map would not need to go through the same public scrutiny. It could,
    theoretically, be introduced and adopted on Dec. 28.

    But that's not anything the Commissioners want to do, either. They'd rather not
    adopt a final map without public screening.

    This shifts the attention back to the collaborative maps. Three each for Congress,
    state Senate and state House are out for public comment. The differences between
    them aren't all that marked.

    Also, while the 13-member commission includes four Republicans, four Democrats
    and five independents, partisanship has not been a factor up to this point.
    Differences and tensions among members have been based on regional issues as
    opposed to Republican-Democratic rubs.

    Commissioners work reasonably well with one another. Commissioner
    Rhonda LANGE has been a wild card in that she has never shown up to
    an ICRC meeting in person and is comfortable being a dissenter in the face of
    consensus. Lange also declines media interviews and keeps her long-range views
    close to the vest.

    One of the challenges for commissioners is sifting through which comments are
    coming from individuals and which ones are coming from folks being put up by a
    special interest, said Commissioner Doug CLARK Jr.

    Particularly during the closing days of the map drawing, commissioners heard
    public comments that sounded remarkably similar to another testifier. It raised the
Case 1:22-cv-00272-PLM-RMK-JTN ECF No. 114-8, PageID.3988 Filed 12/04/23 Page 4 of
                                       6

    question among members as to which maps are genuinely sparking strong feelings
    and which special interests were simply better organized.

    Still, it's hard not to count comments or see trends and, after speaking with multiple
    commissioners, a consensus theme, at this point is the following:

    Congressional

    The major differences among the Chestnut, Birch and Apple maps are how the
    Grand Rapids area is configured.

    "Chestnut" connects Grand Rapids (GR) with northern Ottawa County, Grand
    Haven and Muskegon. "Birch" connects GR with all of Kent County, eastern
    Ottawa County (Hudsonville and Coopersville) and western Ionia (Belding and
    Lake Odessa). "Apple" connects GR with Kalamazoo.

    As of now, Chestnut and Birch are seen as the favorites, with a slight edge toward
    Chestnut. The GR-Kalamazoo connection is getting panned as a little too
    manufactured. Outside of a shared TV media market, the two communities don't
    have a lot in common.

    In general, the Chestnut and Birch have gotten favorable reviews, so it's highly
    unlikely an individual map would need to be considered.

    The map that's chosen will have major implications in West Michigan, where U.S.
    Rep. Fred UPTON and Bill HUIZENGA have been drawn into the same district in all
    three. Depending on if Upton runs for re-election or not will have a domino effect
    on what happens to Huizenga, U.S. Rep. John MOOLENAAR and maybe even U.S.
    Rep. Peter MEIJER.

    State Senate

    Ann Arbor and Jackson County are the major points of differences among
    the Cherry, Palm and Linden maps. If any map generates strong partisan dividing
    lines, it would be in the state senate.

    The Palm maps puts Ann Arbor and the surrounding communities into a single
    district, creating a heavy Democratic district. Cherry cracks Ann Arbor in half and
    stretches two districts vertically into Jackson and Calhoun counties to generate
    partisan fairness.

    Linden is the compromise. It cracks Ann Arbor, but Jackson County is kept
    together with the northern half, creating a more lean-Dem district.

    Clark, a Republican, said he prefers the Palm district, but the public tends to
Case 1:22-cv-00272-PLM-RMK-JTN ECF No. 114-8, PageID.3989 Filed 12/04/23 Page 5 of
                                       6

    support Cherry and Linden, with the latter getting slightly more support. Clark
    conceded that he'd prefer a collaborative map than an individual map so, again, one
    of the three maps is still the most likely scenario.

    State House

    The feedback on Pine, Magnolia and Hickory is that the public isn't crazy about
    any of them. Hickory seems to be the least objectionable, but it's more of a "lesser
    than three evils" scenario.

    The differences among the three maps center around western Oakland County,
    Livingston and Washtenaw counties, but -- again -- it's not anything that's creating
    a substantial uproar.

    The numerous jagged Detroit-suburb districts aren't being universally embraced and
    that's a constant among all three maps. These maps were the last to be drawn and
    were done under a serious time crunch.

    Some odd configurations ended up emerging as a result. Allegan County
    (population 118,000) has pieces of six state House districts in all three maps when
    it could conceivably be its own district minus about 20,000.

    While southern Lake Michigan folks wanted a "Lakeshore district," the optics of a
    rope-shaped district snaking from the Indiana line to Saugatuck is a little jarring to
    the eye.

    In a city of 600,000 residents, Detroit does not have a single House district in any
    of the maps that is entirely within the city boundaries.

    Of all the maps, this one will be the biggest issue because nobody really loves any
    of the options. It's possible a commissioner tries to craft a better map, but it must be
    his or her work. The Commission has recoiled at the thought of rubber
    stamping ANY special interest map, even if it's under the name of an individual
    commissioner.

    Stay tuned on this one.

    Court Action

    Finally, keep in mind, whatever the maps are, the ICRC will be sued by at least one
    entity if not several. A court could tell the Commission to go back to the drawing
    board on one, some or all of the maps.

    A federal court could conceivably draw its own map based on its interpretation of
    the U.S. Voting Rights Act or it could order the existing legislative maps to be used
Case 1:22-cv-00272-PLM-RMK-JTN ECF No. 114-8, PageID.3990 Filed 12/04/23 Page 6 of
                                       6

    for another cycle.

    Three Questions For Commissioner Eid
    One of the main architects of the Independent Citizens Redistricting Commission's
    (ICRC) maps has been Anthony EID, a 28-year-old Chaldean and Lebanese
    American who is studying to become an orthopedic surgeon.
    A former student body President at Wayne State University, Eid took the lead on
    crafting the first congressional map, a product widely praised in mid-Michigan,
    southern Michigan, Ann Arbor and several other parts of the state.

    During a recent interview, MIRS asked Eid several questions, the answers of three
    of which are paraphrased below.

    1. Explain the reasoning behind connecting the city of Detroit with suburban
    communities in the legislative districts as opposed to drawing Detroit-only
    districts?

    A: Early in the process, the ICRC's advisors and other redistricting commissioners
    flagged how current Detroit-based legislative districts are "packed." African
    Americans, in some cases, make up 90% of some districts, which dilutes their
    overall voting power.

    The goal was to "unpack" Detroit. The belief was that by creating districts made up
    of 35%-40% Black districts, more Black candidates would have a greater
    opportunity to be part of the legislative process.

    Under the three House and three Senate maps, the ICRC created a combined 28
    "opportunity districts" as opposed to the current 17 "majority-minority" districts.
    The ICRC's legal staff assured the Commission the strategy complied with the
    U.S. Voting Rights Act.

    2. What was the most challenging part of the state to draw?

    A: The city of Midland and Midland County. How Dow's hometown should be
    drawn was a constant source of debate, with seemingly half of commentators
    wanting Midland in with Bay City and Saginaw and the other half wanting Midland
    in with the rest of the county.

    Doing both for legislative districts wasn't an option. For the state House maps,
    Midland and Midland County are a single district in every map. For the state Senate
    maps, the city of Midland and parts of the county are in with Bay City and
    Saginaw.

    For Congress, two maps have the city of Midland in with Bay City, Saginaw and
    Flint and Midland County with a geographically enormous mid-Michigan district.
